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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
                Plaintiff,                        §
 v.                                               §
                                                  §
 STATE OF TEXAS and JOHN SCOTT,                   §      Case No. 3:21-CV-00299-DCG
 in his official capacity as Secretary of the     §
 State of Texas,                                  §
                                                  §
                Defendants.                       §
                                                  §

                    ORDER CONSTITUTING THREE-JUDGE COURT

       This suit requests a three-judge court. It challenges the constitutionality of the
apportionment of congressional districts by the Texas Legislature and the apportionment of the
Texas State House and Texas Senate, which are statewide legislative bodies. United States District
Judge David C. Guaderrama has notified the chief judge of the circuit, pursuant to 28 U.S.C.
§ 2284(b), of the request that a three-judge court be convened. I hereby designate a circuit judge
and a district judge to serve with Judge Guaderrama. The members of the three-judge court
convened under 28 U.S.C. § 2284 are:

Judge Jerry E. Smith
Circuit Judge
United States Court of Appeals for the Fifth Circuit

Judge David C. Guaderrama
United States District Judge
Western District of Texas

Judge Jeffrey V. Brown
United States District Judge
Southern District of Texas




December 10, 2021
                                                PRISCILLA R. OWEN, CHIEF JUDGE
                                                UNITED STATES COURT OF APPEALS
                                                FOR THE FIFTH CIRCUIT
